       Case 1:24-cr-00021-RDB        Document 12       Filed 03/14/25     Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *
                                              *
              v.                              * Case No. 24-CR-00021
                                              *
          SAM LEE                             *
                                              *
              Defendant.                      *
                                              *
                                          *******

                                ENTRY OF APPEARANCE

       Please enter the appearance of Christina Hoffman, Assistant United States Attorney as

counsel for the United States of America in the above-referenced case.



                                           Respectfully submitted,

                                           Kelly O. Hayes
                                           United States Attorney


                                   By:            /s/ Christina Hoffman
                                           Christina Hoffman
                                           Assistant United States Attorney
                                           36 South Charles St., 4th Floor
                                           Baltimore, Maryland 21201
                                           Tel.: (410) 209-4800


Dated: February 19, 2025.
